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                      UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

PATRICIA A. JOHNSON,

       Plaintiff,
                                                   CASE NO.: 6:19-cv-02139-GAP-EJK
v.

WALT DISNEY PARKS AND RESORTS
U.S., INC.,

      Defendant.
____________________________________

                WALT DISNEY PARKS AND RESORTS U.S., INC.’S
                   MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure, defendant

Walt Disney Parks and Resorts U.S., Inc. (“WDPR”) hereby files this Motion for

Summary Judgment and Memorandum of Law regarding plaintiff Patricia A.

Johnson’s claims of disability discrimination under the Florida Civil Rights Act

(“FCRA”) and the Americans with Disabilities Act (“ADA”), 1 and in support

thereof states as follows:

                             PRELIMINARY STATEMENT

       The crux of plaintiff’s disability discrimination claim is that her alleged

inability to walk from the employee parking lot to her retail job at Disney Springs


1Plaintiff’s age discrimination claims (Counts II and IV) were dismissed with prejudice. See
Doc. 31.
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led WDPR to terminate her employment after she was on a medical leave of

absence for more than a year. 2 However, discovery has confirmed a fatal defect

in her case: “walking is not [an] issue” for Ms. Johnson. Although she could

have obtained a handicap parking placard to park much closer to work, she

admitted she “did not need one.” And even if she did have a disability covered

under the state or federal statutes, the accommodations she requests—such as to

take a break after walking for two minutes—are unreasonable and make her

unqualified for a retail position that requires constant movement throughout the

store.

         Indeed, just three months before she began working at WDPR’s Once

Upon a Toy store, Johnson applied for disability benefits and stated under

penalty of perjury that she was unable to work. 3 But that did not prevent her

from accepting a retail position with WDPR, and then claiming after working

only nine part-time shifts that she could not perform her job because of the

parking situation at Disney Springs, even though she frequently used that


2 See Doc. 24, Am. Compl. ¶¶ 45, 78 (alleging in Counts I and III that plaintiff’s “physical
impairments substantially interfered with [her] ability to traverse the Assigned Route to the
Retail Establishment”).

3 During her deposition, Johnson tried to explain that this “unable to work” statement in her
application—for which she has received approximately $20,000 annual benefits for the past six
years—actually meant that she could not perform yardwork and housework, not that she was
unable to work at a place like WDPR. Ex. 13, Dep. at 106:2-108:14. But when counsel for WDPR
pressed her on this apparently fraudulent statement, Johnson’s attorney instructed her to
“plead the fifth” and not answer the question. Id. at 165:23-168:8.



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parking lot during the months leading up to her employment.

      Johnson’s illicit motive became abundantly clear when during her leave of

absence, she visited Walt Disney World’s (“WDW”) theme parks at least 51 times

using her complimentary employee passes. During these visits, she regularly

spent 6 to 8 hours in the parks and waited in lines for up to one hour without a

mobility device or other disability accommodation. Clearly, this undisputed

evidence shows that Johnson was not disabled under the ADA or FCRA and did

not need an accommodation in the first place. It also shows that Johnson used

her employee pass to enjoy hundreds of hours of free theme park experiences

which entailed mobility and physical strength far exceeding the demands of her

job which she falsely claimed she could not do, and without which she would

not have had either medical leave or a free pass.

      Even assuming that this case was not based on outright fraud and that

Johnson could make out a prima facie case (which she cannot), there is no genuine

factual dispute as to WDPR’s position that Johnson’s termination was based on a

legitimate business reason: she exceeded the maximum 12-month medical leave

permitted pursuant to WDPR’s policies. In her deposition, Johnson conceded

that this was indeed the policy, that she had acknowledged the policy before

commencing her employment with the company, and that her leave exceeded the

maximum time period set forth in the policy.


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       Similarly, there is no evidence of pretext regarding Johnson’s termination,

which was the inexorable result of her leave exceeding 12 consecutive months

and her failure to provide a return-to-work date, thereby making the leave

indefinite. It is well-established that an employee’s violation of a maximum-

leave policy constitutes sufficient grounds for termination, which means that no

reasonable jury could find that WDPR’s decision constituted a pretext for

discrimination. Because it is plaintiff’s burden to prove pretext in this type of

case once the company has articulated a legitimate, non-discriminatory business

reason, Johnson cannot prevail, and WDPR is entitled to summary judgment in

its favor.

              STATEMENT OF UNDISPUTED MATERIAL FACTS

       The following are the material facts as to which there is no genuine

dispute:

A.     Johnson Worked at Disney Springs for Approximately Two Months
       Until Her Extremely Restrictive Limitations Required That She Be
       Placed on a Medical Leave of Absence

       1.    Disney Springs (formerly Downtown Disney) underwent significant

construction to expand the property as early as April 2014, which was ongoing

when Johnson began working there at the Once Upon a Toy store in June 2015.

Ex. 1, Salisbury Decl. ¶ 3. There were 14 active construction sites and over 4.5

miles of construction walls along Buena Vista drive, which runs alongside the



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Disney Springs property. Id.

       2.     During the construction period, eleven parking lots for Cast

Members and guests were closed due to the expanding size of the property and

moving the bus loop to the center of the property. Ex. 1, Salisbury Decl. ¶ 4.

Cast Members with a disabled person parking placard had access to a parking lot

that was very close to the Once Upon a Toy store, but all other employees parked

at the other end of the Disney Springs property in parking lot “P.” Id. ¶¶ 4-5.

       3.     It was not physically possible to provide shuttles or other

transportation for employees or guests from any parking lot to a desired

destination in Disney Springs given the physical obstructions and safety

concerns posed by the construction. Ex. 1, Salisbury Decl. ¶ 4. WDPR placed

benches throughout the entire property to provide places for employees and

guests to rest, including in the pathways between the parking lots and retail

stores. Id. ¶ 6.

       4.     Johnson visited Disney Springs at least every other week (and

sometimes each week) while it was under construction as well as before applying

to work for WDPR. Ex. 13, Dep. at 53:6-54:1. She also visited the Once Upon a

Toy store during this time period. Id.

       5.     Johnson applied for Social Security disability (“SSDI”) benefits just

three months before she applied for a job with WDPR. See Ex. 13, Dep. at 106:2-


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16. Her SSDI application was based on an alleged disabling condition resulting

from an October 28, 2014 car accident. Id. at 106:24-107:5. She signed the SSDI

application under penalty of perjury, swearing: “I have not and do not expect to

work this year, and I did not work in the two prior years.” Id. at 107:6-9; Ex. 2,

Social Security Application.

      6.     After accepting the position to work at WDPR, Johnson received a

letter from the Social Security Administration (“SSA”) dated June 9, 2015,

notifying her that her application for SSDI benefits was approved and that she

would receive $1,799 in benefits each month thereafter. Ex. 3, Notice of Award.

The letter stated that the decision to award benefits was based on information

provided to the SSA by Johnson. Id. at 2. Nowhere did the letter indicate that

Johnson had since become employed by WDPR. Ex. 13, Dep. at 164:3-21.

      7.     Johnson testified that the only activities she was substantially

limited in doing following the October 28, 2014 car accident and at the time of

her employment with WPDR were yard work, housework, being on the

computer, sitting (from time to time), driving and brushing her teeth. Ex. 13,

Dep. at 173:8-18. In fact, she admitted that her SSDI application was based on a

supposed inability to do yard work and housework, not on an inability to work.

Id. at 165:23-167:10.

      8.     Johnson started working at Once Upon a Toy on June 20, 2015. Ex.


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13, Dep. at 54:13-19. She was hired as a part-time merchandise employee, or

“Cast Member,” which required her to assist guests, operate the register, stock

merchandise, sort and organize inventory, and perform light cleaning, which

would involve standing for at least 2 to 3 hours at a time, multitasking, and

working in a very fast-paced environment. Ex. 1, Salisbury Decl. ¶ 7. Johnson

admitted that one of the essential functions of the job was to stand for long

periods of time. Ex. 13, Dep. at 141:17-21; see Ex. 4, Job Description. If an

employee cannot work a certain shift or wants to transfer shifts, it is her

obligation to contact other employees to cover for her. Ex. 1, Salisbury Decl. ¶ 8.

      9.     Shortly after beginning her employment with WDPR, Johnson

claimed that she was suffering pain and numbness in her right leg and could not

walk more than 100 yards, which allegedly prevented her from performing her

job because she contends that the distance from the regular parking lot for

employees to the Once Upon a Toy store was approximately one mile.

Therefore, after working just nine shifts (totaling less than 60 hours), Johnson

submitted a Physician’s Certification for Employee Accommodations Form from

her chiropractor which requested a 15-minute seated break after standing for

three hours and a break after walking 100 yards (Ex. 1, Salisbury Decl. ¶ 9), a

distance Johnson testified would take less than two minutes to traverse. Ex. 13,

Dep. at 142:4-143:12.


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      10.   Johnson never tried to use a mobility device to get to work or while

at work because she said she “did not need one.” Ex. 13, Dep. at 131:15-19.

      11.   Johnson also never possessed or applied for a disabled person

parking placard for her car because she never felt like she needed one. Ex. 13,

Dep. at 43:5-15. In fact, when asked why she did not obtain a parking placard,

she said “walking was not the issue.” Id. Although WDPR had a parking lot for

employees with disability parking placards located a short distance from the

Once Upon a Toy store (Ex. 1, Salisbury Decl. ¶ 5), Johnson chose to park in the

regular parking lot which was much farther away.

      12.   Given the severe limitations on standing and walking set forth in

Johnson’s Physician’s Certification for Employee Accommodations Form, WDPR

determined that she could not perform the essential functions of her job at Once

Upon a Toy, with or without a reasonable accommodation. Ex. 1, Salisbury Decl.

¶ 10. As a result, WDPR placed her on a medical leave of absence, as an

accommodation, on August 28, 2015. Id.; Ex. 5, Def.’s Interrog. Responses at 13-

14 (Response to Renumbered Interrog. No. 25).

      13.   On August 10, 2016, Johnson’s chiropractor updated her restrictions

to state that she could not walk for more than 9 minutes and that she would need

a 5-minute rest period after walking 400 yards. Ex. 1, Salisbury Decl. ¶ 11. For a

Cast Member at the Walt Disney World Resort, these limitations were equally, if


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not more, restrictive than the prior ones. Id.

B.    WDPR Engaged in Extensive Efforts To Find a Position for Johnson That
      Would Satisfy Her Supposed Restrictions

      14.    While Johnson was on a leave of absence, WDPR engaged in

extensive efforts to re-cast her into a role that would satisfy her purported

restrictions, which included vetting 18 open positions. Ex. 1, Salisbury Decl. ¶

12; Ex. 5, Def.’s Interrog. Responses at 13-14 (Response to Renumbered Interrog.

No. 25).

      15.    Johnson was assigned a Case Advocate, Bonnie Siracuse, who

regularly spoke to Johnson during her leave of absence and who, along with

multiple other employees, reviewed each open position to determine whether it

would satisfy Johnson’s restrictions. Ex. 1, Salisbury Decl. ¶ 12; Ex. 13, Dep. at

133:5-15.

      16.    But given the extremely restrictive limitations Johnson alleged she

had—which would essentially require her to sit for five minutes for every 1.7

minutes of walking (as she conceded in her deposition)—none of the open

positions satisfied her restrictions. Ex. 1, Salisbury Decl. ¶ 12; Ex. 6, Brass Ring

File; Ex. 13, Dep. at 142:4-143:12.

      17.    During her leave of absence, Johnson visited the WDW theme parks

at least 51 times using the complimentary passes provided to her as a Cast

Member, even though she was purportedly unable to work due to an alleged

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 disability that impacted her ability to walk and stand. Ex. 13, Dep. at 62:5-23; Ex.

 7, Pass Usage Data. Johnson regularly spent 6 to 8 hours in the parks and waited

 in lines for up to one hour without a mobility device or other disability

 accommodation. Ex. 13, Dep. at 56:18-24, 68:8-12. This required extensive

 walking and standing. Just two days after Johnson’s chiropractor completed her

 initial disability accommodation form which identified certain walking and

 standing restrictions, Johnson spent a full day visiting Magic Kingdom, Disney’s

 Animal Kingdom, and Disney’s Hollywood Studios. Id. at 54:20-56:17.

 C.    Johnson’s Employment Was Terminated After Her Leave of Absence
       Exceeded the Maximum Leave Permitted under WDPR’s Policies

       18.    Pursuant to WDPR’s policies, an approved medical leave of absence

 is limited to 12 consecutive months. Salisbury Decl. ¶ 14. In relevant part, the

 Employee Handbook states:

       Approved medical leaves may last for up to 12 consecutive months,
       or if the leave is taken in shorter periods, for up to 15 months during
       a 24-month period. . . .

       Employees who remain away from work without obtaining a timely
       extension of their leave will be considered to be on an unauthorized
       leave and are subject to termination. . . .

       Employees who are nearing 12 months of consecutive leave (or 15
       months of intermittent leave) should contact Leave Administration
       to discuss their ability to return to work and their timeframe for
       returning. If additional leave is requested, the Company will refer
       the matter to HR/Employee Relations, who will consider the
       employee’s expected timeframe for being able to return to work, the
       needs of the business and any legal requirements. The Company

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       will not grant requests for indefinite leave.

 Ex. 8, Walt Disney World Employee Handbook at 36-37; see Ex. 9, WDW 2004

 Employee Manual at 78-79.

       19.    Johnson acknowledged WDPR’s maximum-leave policy when she

 was hired. Ex. 13, Dep. at 134:17-135:13; Ex. 10, Employee Manual

 Acknowledgement. She also received a letter from WDPR dated August 29,

 2015, which reiterated that employees who are absent from work due to a

 medical leave of absence for 12 months will be subject to termination of

 employment, and that employees should notify their managers of their intent to

 return to work at the earliest possible time prior to the expiration of the leave.

 Ex. 11, August 28, 2015 Letter.

       20.    Johnson’s leave exceeded 12 consecutive months on August 28, 2016.

 Ex. 1, Salisbury Decl. ¶¶ 10, 14. On September 1, 2016, WDPR’s Leave

 Administration department sent a letter to Johnson, notifying her that she had

 exceeded the maximum leave allowable under the policy and requesting that she

 contact WDPR within 15 days if she was able to return to work. Id. ¶ 15; Ex. 12,

 September 1, 2016 Letter. The letter also stated that if she was unable to return to

 work, her separation would be processed on September 21, 2016. Ex. 1, Salisbury

 Decl. ¶ 15; Ex. 12, September 1, 2016 Letter.

       21.    WDPR never received a response to the September 1st letter nor was


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 otherwise informed by Johnson that she was able to return to work. Ex. 1,

 Salisbury Decl. ¶ 15.

       22.    Because Johnson had been on a medical leave of absence for more

 than a year which exceeded the maximum time set forth in WDPR’s policy, did

 not provide a return to work date, and did not obtain an extension of her leave

 before the end of the previously-approved leave period, her separation from

 employment was effective as of September 22, 2016. Ex. 1, Salisbury Decl. ¶¶ 15-

 17; see Ex. 5, Def.’s Interrog. Responses at 7-8 (Response to Renumbered Interrog.

 No. 6 (subpart b)).

       23.    Johnson confirmed that neither she nor any of her doctors provided

 WDPR a return-to-work date and that she never contacted the Leave

 Administration department or her managers at Once Upon a Toy to discuss

 being added back to the schedule. Ex. 13, Dep. at 143:13-144:8, 151:14-24. She

 also admits that her leave of absence exceeded 12 months and that she had in fact

 not returned to work as of September 23, 2016. Id. at 143:13-144:8, 150:18-151:24.

       24.    There is no evidence that WDPR treated other employees who

 violated the company’s leave policy any differently than WDPR treated her.

       25.    At the time of her separation, Johnson was given a positive re-hire

 status with WDPR. Ex. 13, Dep. 153:15-25. Johnson was aware of her positive re-

 hire status in WDPR’s system, but never reapplied to work for WDPR at any


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 time thereafter. Id. at 153:22-154:3. Nor has she sought any other employment in

 the four-and-a-half years since her separation. Id. at 153:10-14. When Johnson’s

 doctors asked about her employment status, she said that she was “retired.” Id.

 at 109:17-111:18.

       26.    Johnson did not complain of any discrimination during her

 employment, and there is no evidence that anyone at WDPR made any

 derogatory or offensive comments to her about her medical condition or alleged

 disability. Ex. 13, Dep. at 152:21-153:3.

                                LEGAL STANDARD

       Summary judgment is appropriate where, as here, “the movant shows that

 there is no genuine dispute as to any material fact and the movant is entitled to

 judgment as a matter of law.” Fed. R. Civ. P. 56(a). A disputed fact is “material”

 only if its resolution could affect the outcome of the suit, and it is “genuine” if

 the evidence is such that a reasonable jury could return a verdict for the

 nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The

 party seeking summary judgment bears the initial burden of demonstrating the

 absence of a genuine issue of material fact through affirmative evidence or by

 showing there is an absence of evidence to support the nonmoving party’s case.

 Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). However, when the non-moving

 party bears the burden of proof on an issue, the moving party need not support


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 its motion with affidavits or other material negating the opponent’s claim but

 instead may simply point out the lack of evidence supporting their case. Denney

 v. City of Albany, 247 F.3d 1172, 1181 (11th Cir. 2001).

        When the burden shifts to the non-moving party to designate specific facts

 showing that there is a genuine issue for trial, the non-moving party cannot rely

 on “a mere scintilla of evidence” supporting its position. Walker v. Darby, 911 F.

 2d 1573, 1576-77 (11th Cir. 1990) (internal quotations omitted). Rather, for a court

 to find a genuine issue for trial, the non-moving party must establish, “through

 the record presented to the court, that it is able to prove evidence sufficient for a

 reasonable jury to return a verdict in its favor.” Cohen v. United Am. Bank, 83 F.

 3d 1347, 1349 (11th Cir. 1996). Such circumstances do not exist here.

                                        ARGUMENT

        Courts apply a burden-shifting analysis to ADA and FCRA claims. Monroe

 v. Fla. Dep’t of Corr., 793 F. App’x 924, 926 (11th Cir. 2019). 4 Under this analysis,

 the plaintiff bears the burden of establishing a prima facie case of discrimination

 by showing that she: (1) had a disability; (2) was a qualified individual; and (3)

 was subjected to discrimination because of her disability. Id.; see Batson v. The

 Salvation Army, 897 F.3d 1320, 1326 (11th Cir. 2018). If a prima facie case is


 4 “The Florida courts have recognized . . . that actions under the Florida Civil Rights Act are
 analyzed under the same framework as the ADA.” Chanda v. Engelhard/ICC, 234 F.3d 1219, 1221
 (11th Cir. 2000).



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 established, the employer must then offer a legitimate, nondiscriminatory reason

 for the employment decision to rebut the presumption of discrimination.

 Monroe, 793 F. App’x at 926.

       If the employer successfully rebuts the presumption, the plaintiff is given

 an opportunity to present evidence that the employer’s proffered reason was

 merely a pretext for discrimination. Id. This requires the employee to present

 evidence that would permit a trier of fact to conclude that the explanation given

 for the decision is false and that the real reason for the decision was her

 disability. See Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 146 (2000);

 Wood v. Calhoun Cty., 626 F. App’x 954, 956 (11th Cir. 2015) (per curiam). No

 such evidence exists here.

       WDPR is entitled to summary judgment because plaintiff cannot establish

 a prima facie case of disability discrimination, and even if she could, she cannot

 carry her burden of showing that WDPR’s legitimate, non-discriminatory reason

 for terminating her employment was false and a pretext for discrimination.

        PLAINTIFF CANNOT ESTABLISH A PRIMA FACIE CASE OF
        DISABILITY DISCRIMINATION

       A.      Johnson Is Not Disabled for Purposes of Her Discrimination Claim
               Under the ADA or FCRA

       A disability is defined as a physical or mental impairment that

 substantially limits one or more major life activities. Fikes v. Wal-Mart, Inc., 322 F.



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 App’x 882, 884 (11th Cir. 2009) (per curiam). When Johnson requested an

 accommodation from WDPR, her restrictions related to a purported inability to

 walk even 100 yards without a break or stand for extended periods of time. See

 Defendant’s Statement of Undisputed Material Facts (“DSUF”) ¶ 9. But the

 undisputed evidence proves that she had no such substantial limitation in her

 ability to walk or stand for long periods of time. In fact, during her deposition,

 Johnson made the following fatal admissions:

          x Johnson admitted that “walking was not the issue.” DSUF ¶ 11.

          x When asked whether there are any activities she is substantially

              limited in doing, she did not identify walking or standing. Id. ¶ 7.

          x Johnson conceded that she never tried to use a mobility device to or

              from the Disney Springs parking lot or while at work because she

              said she “did not need one.” Id. ¶ 10.

          x Johnson testified that she has never sought to obtain a disability

              placard for her car because she “did not need one.” Id. ¶ 11.

       Beyond these concessions, Johnson’s visits to the WDW theme parks

 during her medical leave of absence (a complimentary benefit that she received

 as a WDPR employee) disprove any claim that she suffered from a physical

 impairment that substantially limited her ability to walk or stand. While Johnson

 was allegedly unable to walk from the parking lot to work, she visited the theme


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 parks no less than 51 times during her leave of absence. Id. ¶ 17. And just two

 days after Johnson’s chiropractor submitted her purported restrictions on

 walking and standing at work, Johnson spent a full day visiting WDW’s Magic

 Kingdom, Animal Kingdom, and Hollywood Studios. Id. Johnson’s suggestion

 that she could not walk to and from the regular parking lot to Once Upon a Toy

 for her work shift 5 is undermined by the fact that she was able to enjoy a full day

 of walking and standing in long lines at three theme parks without a mobility

 device or other disability accommodation. Id. 6

        Johnson’s failure to demonstrate a substantial limitation is similar to the

 plaintiff’s circumstances in Fikes v. Wal-Mart, Inc., 322 F. App’x 882 (11th Cir.

 2009). In Fikes, the plaintiff alleged he “suffer[ed] pain when sitting or standing

 for ‘long periods’ and also when he ben[t], kne[lt], walk[ed], lift[ed], or climbed

 ‘excessively.’” Id. at 884. The evidence demonstrated, however, that the plaintiff

 was able to engage in a “broad range of activity . . . [that] stands in stark contrast

 to—and belies—Plaintiff’s vague assertions that he is restricted in the major life

 activities of working and performing manual tasks.” Id. Indeed, the plaintiff


 5 WDPR had a closer parking lot for employees who have disabled parking placards. DSUF ¶¶
 2, 11. If Johnson actually had a walking limitation which required a handicap placard, then she
 could have obtained one and used the closer lot. That she did not (because “walking was not
 the issue” for her (id. ¶ 11)), further shows the specious nature of her allegations in this case.

 6 Even if Johnson had some difficulty walking from the parking lot, WDPR placed benches
 between the parking lot and the stores for Cast Members (like Johnson) to be able to rest during
 the walk to their workplace. DSUF ¶ 3.



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 was able to perform household activities and “drive his car (without [the] benefit

 of a handicap placard).” Id. The Eleventh Circuit thus found that while the

 plaintiff “suffered some limitation of a major life activity,” that was “not

 enough” because “the limitation must be substantial.” Id. Similarly here, the

 undisputed facts relating to Johnson’s conduct during her leave of absence (e.g.,

 DSUF ¶ 17), along with her admissions under oath, demonstrate that any alleged

 limitations in walking or standing were in no way substantial enough to

 constitute a disability within the meaning of the ADA or FCRA.

        B.     Johnson Was Not a Qualified Individual Because She Could Not
               Perform the Essential Functions of Her Job and Her Requested
               Accommodations Were Not Reasonable

       A “qualified individual with a disability” is an “individual with a

 disability who, with or without reasonable accommodation, can perform the

 essential functions of the employment position that such individual holds or

 desires.” Santandreu v. Miami Dade Cty., 513 F. App’x 902, 905 (11th Cir. 2013)

 (per curiam) (internal quotations omitted). “The plaintiff bears the burden of

 identifying an accommodation, and of demonstrating that the accommodation

 allows [her] to perform the job’s essential functions.” Id. (citations omitted).

 Accommodations sought by a qualified individual must be “reasonable.”

 Mattingly v. Univ. of S. Fla. Bd. of Trs., 931 F. Supp. 2d 1176, 1184 (M.D. Fla. 2013).

       It is undisputed that Johnson could not perform the essential functions of



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 her job given her requested accommodations. A merchandise Cast Member’s

 essential job functions include assisting guests, operating the register, stocking,

 working with inventory and performing light cleaning, which involve constant

 walking throughout the store and standing for extended periods of time. DSUF

 ¶ 8. Johnson could not perform these job functions if she was required to take a

 break every time she walked 100 yards, which she testified amounts to a break

 after two minutes of walking. Id. ¶¶ 9, 12, 16. When her chiropractor amended

 her purported restrictions, they became even more restrictive because they

 required that she take a 15-minute break after walking for less than 9 minutes.

 Id. ¶ 13. Given the essential job functions of the position that Johnson applied for

 and accepted, her requested accommodations are plainly unreasonable. 7

        Johnson’s purported restrictions also prevented her from being able to

 perform the essential duties of any of the 18 open positions WDPR identified

 during her leave of absence. Id. ¶ 14. WDPR made every effort to find her a job

 during this one-year period because of Johnson’s alleged disabilities (id. ¶¶ 14-

 15), but discovery has proven without a doubt that Johnson was lying all along

 about her purported inability to stand and walk. Id. ¶¶ 7, 11, 17.


 7 WDPR provided Johnson with a reasonable accommodation by placing her on a leave of
 absence when she acknowledged that she could not perform the essential functions of her job.
 See DSUF ¶ 12; Jacobs v. Lockheed Martin Corp., 2016 WL 11544772, at *12 (N.D. Ga. Sept. 23, 2016)
 (citing Wood v. Green, 323 F.3d 1309, 1313-14 (11th Cir. 2003)) (recognizing that federal courts
 have found that a leave of absence can be a reasonable accommodation).



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       Nonetheless, based on what Johnson represented to WDPR, there was no

 other available position which could have been offered to her at a company

 whose operation of theme parks, resorts and retail establishments demand on-

 your-feet customer service from nearly all its Cast Members. This case is similar

 to Santandreu v. Miami Dade County, where the plaintiff unsuccessfully argued

 that the defendant should have offered him a different position. 513 F. App’x at

 906. The Eleventh Circuit held that there was no violation of the ADA because

 plaintiff’s medical condition prevented him from performing the essential duties

 of any other role. Id. Applying the holding in Santandreu to the facts here,

 Johnson led her employer to believe she could not perform the essential duties of

 any other open and available position and was thus not qualified for any other

 role. Nor was Johnson entitled to a role that was not available. See, e.g., Lucas v.

 W.W. Grainger, Inc., 257 F.3d 1249, 1256 (11th Cir. 2001) (holding the ADA

 “does not require the employer to bump another employee from a position in

 order to accommodate a disabled employee”).

       Johnson’s request for indefinite leave is also unreasonable. At the time of

 her termination, it was no more likely that WDPR could find a position for her in

 the future. In fact, she had failed to contact WDPR’s Leave Department to

 discuss her ability to return to work or a time frame for returning (as required by

 company policy), and she never reached out to her managers at Once Upon a


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 Toy about being added to the schedule. DSUF ¶¶ 18, 21, 23. Because her return-

 to-work date was indefinite and her leave of absence exceeded company policy

 with no end in sight, any additional leave extension would be unreasonable.

 E.g., Wood, 323 F.3d at 1314 (recognizing that requests for indefinite leave so an

 employee can “work at some uncertain point in the future” are inherently

 unreasonable”); Santandreu, 513 F. App’x at 906 (holding that the plaintiff’s

 request for additional leave was not reasonable because the plaintiff “was unable

 to show that he would be able to perform the essential functions of the job

 anytime in the reasonably immediate future”). Johnson therefore cannot

 establish a prima facie case of disability discrimination. 8

        WDPR HAD A LEGITIMATE, NONDISCRIMINATORY REASON FOR
        TERMINATING JOHNSON’S EMPLOYMENT

        Even if Johnson could establish a prime facie case of disability

 discrimination (which she cannot), WDPR terminated Johnson for legitimate,

 nondiscriminatory reasons. As explained supra, WDPR’s sole reason for

 terminating Johnson was that she exceeded the 12-month maximum time

 permitted for a medical leave of absence under WDPR’s policy as set forth in the

 8 See Monroe, 793 F. App’x at 927 (holding that plaintiff could not establish a prima facie case of
 disability discrimination based on his termination where the plaintiff’s doctor “did not give,
 and could not have given, a date when [plaintiff] could return to work . . . [o]ur case law is clear
 that indefinite leave is not a reasonable accommodation”); Mecca v. Fla. Health Servs. Ctr., Inc.,
 2014 WL 408431, at *4 (M.D. Fla. Feb. 3, 2014) (concluding that the plaintiff’s separation did not
 amount to disability discrimination under the ADA or FCRA in part because “indefinite and
 indeterminable leave is not a reasonable accommodation”).



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 employee handbook. DSUF ¶ 22. 9 All WDPR employees (including Johnson) are

 made aware of and are subject to this policy. Indeed, Johnson signed a written

 acknowledgement that she had read and agreed to abide by this policy before

 she even started working for WDPR. Id. ¶ 19. Johnson also received (and kept) a

 letter from WDPR the day after her medical leave of absence began that

 reminded her of this policy and her obligation to notify her managers of any

 intent to return to work prior to the expiration of the leave. Id.

        Johnson failed to comply with these requirements. She did not contact

 WDPR Leave Administration or her managers to discuss any ability to return to

 work or her timeframe for returning to work when she was approaching the 12-

 month deadline. Id. ¶ 23. She also failed to provide a return-to-work date or to

 contact anyone at Once Upon a Toy about being put back on the work schedule.

 Id. It is therefore not surprising that Johnson admitted during her deposition

 that her leave of absence exceeded 12 months and that she had in fact not

 returned to work as of September 23, 2016. Id. As a result, WDPR has satisfied

 its “exceedingly light burden of producing [a] legitimate, non-discriminatory

 reason” to terminate Johnson, whose leave of absence had exceeded the

 9 Johnson claims that she never received WDPR Leave Administration’s September 1st letter
 notifying her that she exceeded the 12-month maximum leave period and that a different letter
 (which she produced in discovery) was sent after she had been terminated. This is a red herring
 because the second letter, apparently sent out one day after she was terminated, was sent to the
 same address as the first letter. Additionally, sending the second letter was a clerical error, not
 the result of any discrimination based on Johnson’s alleged disability.



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 company’s maximum leave period and who had not provided a return-to-work

 date at the time of her termination. Crowley v. OSI Rest. Partners, LLC, 907 F.

 Supp. 2d 1318, 1324 (M.D. Fla. 2012) (citing Chapman v. AI Transport, 229 F.3d

 1012, 1024 (11th Cir. 2000) (en banc)).

       Terminating an employee for exceeding a maximum permitted leave of

 absence is, as confirmed by other courts, a legitimate, nondiscriminatory reason

 for termination. E.g., McIntyre v. San Antonio Water Sys., 2017 WL 1532608, at *9

 (W.D. Tex. Apr. 26, 2017) (holding defendant provided a legitimate,

 nondiscriminatory reason for terminating an employee who had “exhaust[ed]

 the maximum allowable leave under [defendant’s] policies”); Kucharski v. Cort

 Furniture Rental, 594 F. Supp. 2d 207, 211 (D. Conn. 2008), aff’d, 342 F. App’x 712

 (2d Cir. 2009) (concluding defendant’s application of its leave policy to discharge

 employees who were unable to return to work after exhausting their leave was a

 “legitimate justification for plaintiff’s termination”). As the Eleventh Circuit has

 “reiterated multiple times,” “[w]e do not sit as a ‘super-personnel department,’

 and it is not our role to second-guess the wisdom of an employer’s business

 decisions—indeed the wisdom of them is irrelevant—as long as those decisions

 were not made with a discriminatory motive.” Connelly v. WellStar Health Sys.,

 758 F. App’x 825, 829 (11th Cir. 2019) (alteration in original) (quoting Alvarez v.

 Royal Atl. Devs., Inc., 610 F.3d 1253, 1266 (11th Cir. 2010)).


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        Because WDPR had “an honest belief” that Johnson violated its leave

 policy by remaining on a leave of absence for more than 12 months, with no end

 in sight, there is no dispute that there was a legitimate reason for her

 termination. Connelly, 758 F. App’x at 829; Nix v. WLCY Radio/Rahall Commc’ns,

 738 F.2d 1181, 1187 (11th Cir. 1984) (“[An] employer may fire an employee for a

 good reason, a bad reason, a reason based on erroneous facts, or for no reason at

 all, as long as its action is not for a discriminatory reason.”), abrogated on other

 grounds by Lewis v. City of Union City, 918 F.3d 1213 (11th Cir. 2019).

 III.   THERE IS NO EVIDENCE THAT WDPR’S LEGITIMATE,
        NONDISCRIMINATORY REASON FOR TERMINATING JOHNSON
        WAS PRETEXTUAL

        There is simply no evidence that would permit a trier of fact to conclude

 that WDPR’s reasoning for terminating Johnson is false and that the real reason

 for her termination was her alleged disability. See Wood, 626 F. App’x at 956. To

 defeat summary judgment, Johnson “must introduce significantly probative

 evidence” demonstrating that WDPR’s legitimate, nondiscriminatory reason for

 terminating her employment is both false and that discrimination was the real

 reason. Velez v. Sprint/United Mgmt. Co., 2020 WL 8224605, at *4 (M.D. Fla. Dec.

 15, 2020) (emphasis added) (internal quotations omitted); see Lopez v. AT&T,

 Corp., 457 F. App’x 872, 874–75 (11th Cir. 2012) (per curiam).

        Johnson has not produced any evidence, let alone evidence that is



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 “significantly probative,” that WDPR’s termination decision was false or based

 on discrimination. What’s false is Johnson’s alleged inability to walk or stand for

 more than a few minutes, which has cost WDPR time and money in this

 litigation and fraudulently led the State of Florida to pay her $20,000 annually in

 disability benefits. She should be held responsible for her conduct, but to

 complete the legal analysis in this case, Johnson admitted that she violated

 WDPR’s leave policy and has no evidence that other employees were treated

 differently. DSUF ¶¶ 18, 23-24; see Lopez, 457 F. App’x at 875 (explaining that the

 “’work rule’ defense may be pretextual” if the plaintiff demonstrates she did not

 violate the work rule or, if she did, that other employees “outside the protected

 class, who engaged in similar acts, were treated differently”). Johnson also never

 complained of discrimination during her employment, and there is no evidence

 that anyone at WDPR made any derogatory or offensive comments to her about

 her medical condition or alleged disability. DSUF ¶ 26. Johnson’s failure to

 establish a triable issue as to pretext compels summary judgment for WDPR. See

 Thomas v. Dolgencorp, LLC, 645 F. App’x 948, 952 (11th Cir. 2016).

                                  CONCLUSION

       For all the foregoing reasons, WDPR respectfully requests that

 summary judgment be granted in its favor.




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 Dated: March 1, 2021               Respectfully submitted,


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                            CERTIFICATE OF SERVICE

       I hereby certify that on March 1, 2021, I electronically filed the foregoing

 with the Clerk of the Court using the CM/ECF system, which will send

 notification of such filing to all Counsel of Record.



                                        /s/ Jeremy White
                                        Jeremy White
